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   Mountain Club, Earthworks, Natural
13 Resources Defense Council, and
   Environmental Defense Fund
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28 Joint Notice of Second Stipulated Extension of Consent Decree Deadlines
     Case No. 4:21-cv-3551                                                                              1
 1                                      UNITED STATES DISTRICT COURT

 2                                   NORTHERN DISTRICT OF CALIFORNIA

 3                                               OAKLAND DIVISION

 4
         DOWNWINDERS AT RISK, et al.,
 5                                                                  Case No. 4:21-cv-3551-DMR
                       Plaintiffs,
 6                                                                   JOINT NOTICE OF SECOND
                             v.                                      STIPULATED EXTENSION OF
 7                                                                   CONSENT DECREE DEADLINES
 8       MICHAEL S. REGAN, in his official capacity as
         Administrator of the United States Environmental
 9       Protection Agency,
10                     Defendant.
11

12             Pursuant to paragraph 8 of the Consent Decree entered in this case (Dkt. No. 23) 1 (“Consent
13 Decree”), Plaintiffs, Downwinders at Risk, et al., and Defendant, United States Environmental

14 Protection Agency (“EPA”) Administrator Michael S. Regan (together, “the Parties”) stipulate to extend

15 the deadlines for EPA to sign a final action to approve, disapprove, conditionally approve, or approve in

16 part and conditionally approve or disapprove in part the state implementation plan (“SIP”) submissions

17 for Arizona, Tennessee, and Wyoming addressing Clean Air Act (“CAA”) section 110(a)(2)(D)(i)(I)

18 (“Good Neighbor Provision”), 42 U.S.C. § 7410(a)(2)(D)(i)(I), for the 2015 ozone national ambient air
19 quality standards (“NAAQS”) from January 31, 2023, to December 15, 2023.

20             The Parties stipulated to extend the deadlines for these three states once before, from
21 December 15, 2022, to January 31, 2023. See Joint Notice of Stipulated Extension of Consent Decree

22 Deadlines (Dkt. No. 32). There have been no other stipulated extensions of the deadlines for these SIP

23 actions.

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     Paragraph 8 of the Consent Decree allows Consent Decree deadlines to be modified by written
27 stipulation of the Parties with notice to the Court. See Dkt. No. 23 ¶ 8.

28 Joint Notice of Second Stipulated Extension of Consent Decree Deadlines
     Case No. 4:21-cv-3551                                                                               2
 1           Paragraph 4 of the Consent Decree established December 15, 2022, as a contingent deadline for

 2 EPA to sign a final action to approve, disapprove, conditionally approve, or approve in part and

 3 conditionally approve or disapprove in part the SIP submission addressing the CAA Good Neighbor

 4 Provision, 42 U.S.C. § 7410(a)(2)(D)(i)(I), for the 2015 ozone NAAQS from Tennessee if, by February

 5 28, 2022, EPA signed for publication in the Federal Register (1) proposed full or partial disapproval of

 6 the SIP submission from Tennessee that address the CAA Good Neighbor Provision, 42 U.S.C. §

 7 7410(a)(2)(D)(i)(I), for the 2015 ozone NAAQS, and (2) a proposed federal implementation plan that

 8 covers Tennessee that addresses the CAA Good Neighbor Provision, 42 U.S.C. § 7410(a)(2)(D)(i)(I), for

 9 the 2015 ozone NAAQS. See Dkt. No. 23 ¶ 4. EPA exercised the Consent Decree paragraph 4

10 contingency for Tennessee. See Dkt. No. 25.

11           Paragraph 5 of the Consent Decree established December 15, 2022, as the deadline for EPA to

12 sign for publication in the Federal Register notices of final rulemaking that approve, disapprove,

13 conditionally approve, or approve in part and conditionally approve or disapprove in part the SIP

14 submissions addressing the CAA Good Neighbor Provision, 42 U.S.C. § 7410(a)(2)(D)(i)(I), for the

15 2015 ozone NAAQS from Arizona and Wyoming. See Dkt. No. 23 ¶ 5.

16           EPA needs until December 15, 2023, to finalize action on the SIP submissions addressing the

17 CAA Good Neighbor Provision, 42 U.S.C. § 7410(a)(2)(D)(i)(I), for the 2015 ozone NAAQS from

18 Arizona, Tennessee, and Wyoming to allow EPA to fully consider the updated air quality information
19 and comments received during the public comment periods following the proposed SIP actions for these

20 states. Specifically, for these three states, further consideration of this information may result in EPA

21 issuing a re-proposal of action, which would require another public notice and comment rulemaking

22 action.
                                                       Respectfully submitted,
23

24 Dated: January 30, 2023                             /s/ with permission
                                                       Kathleen Riley, Pro Hac Vice
25                                                     Neil Gormley, Pro Hac Vice
                                                       Paul R. Cort
26                                                     Earthjustice
27

28 Joint Notice of Second Stipulated Extension of Consent Decree Deadlines
     Case No. 4:21-cv-3551                                                                            3
 1                                                     Counsel for Plaintiffs Downwinders at Risk,
                                                       Sierra Club, Center for Biological Diversity,
 2                                                     Air Alliance Houston, Texas Environmental
                                                       Justice Advocacy Services, Appalachian
 3
                                                       Mountain Club, Earthworks, Natural
 4                                                     Resources Defense Council, and
                                                       Environmental Defense Fund
 5
                                                       /s/ with permission
 6                                                     Hayden Hashimoto
                                                       Clean Air Task Force
 7

 8                                                     Counsel for Plaintiff Clean Wisconsin

 9                                                     /s/ with permission
                                                       Zachary M. Fabish,
10                                                     Sierra Club
11
                                                       Counsel for Plaintiff Sierra Club
12

13                                                     TODD KIM
                                                       Assistant Attorney General
14

15 Dated: January 30, 2023                             /s/
                                                       DAVID D. MITCHELL
16                                                     United States Department of Justice
                                                       Environment and Natural Resources Division
17                                                     Environmental Defense Section
18                                                     Counsel for Defendant
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28 Joint Notice of Second Stipulated Extension of Consent Decree Deadlines
     Case No. 4:21-cv-3551                                                                             4
